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                                                                                                                                 U.S. DISTRICT COURT
                                                                                                                                     N.D. OF ALABAMA
From:                 Don Houston                                                                        EXHIBIT 3
To:                   Bruce McDaniel; Shelton Frey; Rich Hegstad; Al Armijo; Jim Anderson
Cc:                   Doug Goetz; Wendy Dunegan
Subject:              Department Head Meeting
Date:                 Friday, March 16, 2012 10:53:17 AM



On Monday Doug has asked for some time to discuss JCS integration so that will be our first topic.  In
addition, I have asked Wendy to give a short presentation/overview on Requests for Equitable
Adjustment (REA).  The plan is at the end of her presentation for us to put together a plan on this
important issue to include identifying responsibility for oversight of the process.  There are
contractual, HR and Financial implications to each REA. 
 
A draft of the revised sales commission plan will be distributed at the meeting for review and
comment.
 
Please send me any other topics that need to be addressed at the meeting.  The goal of Monday’s
meeting is to resolve issues so come prepared to make decisions.
 
 
Don Houston
Chief Operating Officer
 
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